Case 1:15-cr-00058-JRH-BKE Document 133 Filed 06/29/18 Page 1 of 3




           IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION




UNITED STATES OF AMERICA           *
                                   *


      V.                           *          CR 115-058-01
                                    ★


MICHELLE SULLIVAN                  *




                              ORDER




      On October 1, 2015, Defendant Michelle Sullivan pled

guilty to one count of conspiracy to commit wire fraud, a

violation of 18 U.S.C. §§ 1349 and 1343.       On January 12, 2016,

Sullivan was sentenced to 72 months' imprisonment and three

years of supervised release and ordered to pay $945,005.46 in

restitution and a $100 special assessment.              Sullivan is

currently incarcerated at the Federal Prison Camp in Alderson,

West Virginia.

      Presently, Sullivan moves this Court to recommend to the

Bureau of Prisons       ("BOP")   that her last twelve     months be

served      in   a    community    correctional     facility;    more

specifically, six months at a Residential Reentry Center,

i.e., a halfway house, and six months of home confinement.

(Doc. 132.)

      Once a federal court has imposed a sentence, the BOP

assumes legal authority over the offender.          Only the BOP can
Case 1:15-cr-00058-JRH-BKE Document 133 Filed 06/29/18 Page 2 of 3




designate the place of an inmate's imprisonment.                        See 18

U.S.C. § 3621(b).         The Eleventh Circuit has stated that the

BOP should be afforded wide discretion in classifying and

housing prisoners.         United States v. Ramdeo. 705 F. App'x 839

(ll'^'^ Cir. 2017).      Under 18 U.S.C. § 3624(c), the BOP may grant

pre-release custody to an inmate, which would allow her to

serve a portion of her federal sentence in the community,

whether by home confinement or in a community correctional

facility. The BOP considers five factors listed in § 3621(b),

as   well   as    the    guidelines   in    §   3621(c)(1),     to    make    an

individual determination on each inmate.               One of the factors

relevant here is "any statement by the court that imposed the

sentence (A) concerning the purposes for which the sentence to

imprisonment       was     determined      to   be    warranted;      or     (B)

recommending a type of penal or correctional facility as

appropriate."       18 U.S.C. § 3621(b)(4).

      In this case, the Court set forth its reasons for the

sentence imposed on the record at the sentencing hearing.

While the Court recommended placement in the satellite camp at

the Bureau of Prisons facility in Aliceville, Alabama, it did

not make a recommendation on pre-release custody.                    It is the

Court's considered view that the BOP is much better positioned

to   evaluate     the    individual   circumstances     of   an   inmate     to

include     her   accomplishments,         behavior    record     and      other

mitigating factors.          While this Court commends Sullivan's
Case 1:15-cr-00058-JRH-BKE Document 133 Filed 06/29/18 Page 3 of 3




initiative in filing the motion and in her stated desire to

become    a    productive      member       of   society    at   the   earliest

opportunity, this Court will not offer an opinion - one way or

another    -    as    to    Sullivan's      suitability      for   pre-release

custody.      The Court will leave this eligibility determination

to the experienced discretion of the BOP.

      Upon      the        foregoing,       Sullivan's       motion     for    a

recommendation from this Court (doc. 132) is DENIED.

      ORDER ENTERED at Augusta, Georgia, this                                 day

of June, 2018.




                                        /                  hall/ CfHIEF JUDGE
                                             UNITEI^ STATES DISTRICT COURT
                                                   !RN DISTRICT OF GEORGIA
